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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                 DANVILLE DIVISION

STEPHANIE B. HALL,                                     )
                                                       )   Case No. 4:05CV00050
               Plaintiff,                              )
                                                       )
v.                                                     )   ORDER
                                                       )
WAL-MART STORES, INC.,                                 )
                                                       )   By: Jackson L. Kiser
               Defendant.                              )       Senior United States District Judge
                                                       )
                                                       )
                                                       )

       Defendant Wal-Mart Stores, Inc. (“Defendant”) has subpoenaed Plaintiff Stephanie B.

Hall’s (“Plaintiff”) 2002-04 income tax returns from the Virginia State Tax Commission

(“Commission”). The Commission disclosed the tax returns to this Court requesting that they be

reviewed for relevance before it complied with Defendant’s subpoena. After a careful review,

this Court finds that the tax returns are relevant to the issue of lost wages raised by the Plaintiff

and so will be disclosed to the parties. Therefore, the Commission is ORDERED to comply

with Defendant’s subpoena and disclose Plaintiff’s 2002-04 tax returns to the parties.

       The Clerk is hereby instructed to send a copy of this Order to the Virginia State Tax

Commission and to all counsel of record.

       Entered this 25th day of October, 2005.



                                               s/Jackson L. Kiser
                                               Senior United States District Judge
